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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

____________________________________
UNITED STATES OF AMERICA             )
                                     )
          v.                         )                    Criminal No. 14Cr10276-IT
                                     )
                                     )
JOHN CRANNEY,                        )
                                     )
              Defendant.             )
____________________________________)

    JOHN CRANNEY’S MOTION TO EXCLUDE LETTERS, EMAILS AND TEXTS

       Now comes the defendant John Cranney, by and through undersigned counsel, and

hereby respectfully moves the Court, in limine, to exclude letters, emails and text messages from

witnesses to Mr. Cranney that the Government is expected to offer into evidence at trial unless

the defendant (a) responded to the communications; and (b) the response is probative of a

material issue at trial. While such communications might at some point constitute evidence of

bias, be used for impeachment evidence or become admissible as a prior declaration offered to

rebut fabrication, etc., pursuant to Fed.R.Evid 803(d)(1)(B), they are as a rule hearsay otherwise.

Specifically, defendant identifies the following letters, emails and texts that fall into this category

identified by witness:

       Anselmo

        Exhibit 18 which is an unsigned complaint for a law suit filed against Mr. Cranney and
others. There are also 93A letters attached. This is all inadmissible hearsay.

       Bennett

       Exhibit 37 is a hand written note to Mr. Cranney regrading hedge funds. No response.




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Randy Boehm

Exhibit 44 email with no response.
Exhibit 46 letter sent to Mr. Cranney canceling contract. No response or certification.
Exhibit 49-52, 61 letters canceling contract. No response.
Exhibit 53 email to Mr. Cranney. No response.
Exhibit 54 portion of email with response by Boehm to Mr. Cranney 23 days later.
Exhibit 55- 60, 67- 71-76, 78-81 past due notices and complaints by email to Cranney.
           No responses.
Exhibit 63 confirming conversation by email with no response.
Exhibit 65 email stating they sent a certified letter he did not receive with letter asserting
           he has been ignoring their inquiries.
Exhibit 66 certified letter without confirmation of receipt
Exhibit 77 which purports to provide a summary of a conversation with Mr. Cranney. No
           Response.

Bussierres

Exhibit 88 which is a letter outlining her view of their agreement. No Response or
          certification.
Exhibit 90 letter complaining that Cranney did not respond to earlier letter with no
           certification or response
Exhibit 93 is an email received by Mr. Cranney but no response is sent
Exhibit 96 is a certified MGL c93A letter with no response or certification)
Exhibit 98 letter to the federal bankruptcy court with allegations about Mr. Cranney
Exhibit 99 Verified Complaint with attachments

Charters

Exhibit 118-120 letters to Cranney without receipt or response
Exhibit 121 Charters response to Cranney email with no reply
Exhibit 122-123, 124-128 Charters email with no response
Exhibit 129-130, 132 letter with US Postal receipt but no signature
Exhibit 131 letter with certification but not signed or responded to by Cranney
Exhibit 133 undelivered by PO
Exhibit 136-138 Investments/Returns TValues but unknown origin

Dinu

Exhibit 168 emails from Dinu to Cranney with no response
Exhibit 187- 188 certified mail without Cranney signature
Exhibit 189 with multiple emails, only one responsive (July 30 to August 1 2011)
Exhibit 190 texts: exclude 1st dated August 12, 2011 as there is no response




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       Ewing

       Exhibit 308 emails between Ewing and other broker

       Grazier

       Exhibit 339-344 letters sent with no response and post MSD Complaint

       Lagris

       Exhibit 345 email from Mr. Lagris to Cranney re loan. No response.
       Exhibit 346 letter from the Lagris asking to draw down on loan. No response
       Exhibit 347 email with no response

       Mooshagian

       Exhibit 369_s and 369_01 letter and email to Cranney with no response

       Pochepan

       Exhibit 443-444, 449 emails to Cranney with no response
       Exhibit 448 email to Prochepan lawyer forwarding an email to Cranney with no response

       Sandifer

       Exhibit 468 email to Cranney with diatribe. No response.

       Wherefore, defendant moves to exclude these exhibits as they are being offered for the

truth of the matter asserted. The defense is not seeking a ruling at this time but is alerting the

parties and the Court that these documents are objectionable on hearsay grounds and will pose

this objection at trial. Copies of the Exhibits will be brought to the Court and filed by hand. In

so filing, defendant does not waive objections to documents not referenced herein.

                                                       Respectfully Submitted,


                                                       /s/JAMES BUDREAU
                                                       James Budreau
                                                       BBO# 553391
                                                       Bassil & Budreau
                                                       20 Park Plaza, Suite 1005
                                                       Boston, MA 02116
                                                       617-366-2200

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                                 CERTIFICATE OF SERVICE

         I, James Budreau, do hereby certify that this motion has been filed electronically and
that it will be served electronically to registered ECF participants as identified on the Notice
of Electronic Filing (NEF) on March 20, 2018.



                                                      /s/ James Budreau
                                                          James Budreau




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